
57 N.Y.2d 737 (1982)
In the Matter of Nestor J. Seda, Jr., Respondent, et al., Petitioners,
v.
Martin Richards et al., Respondents, and Reuben Bradford, Appellant.
Court of Appeals of the State of New York.
Argued September 9, 1982.
Decided September 10, 1982.
Alexander Potruch and Joseph F. Lisa for appellant.
Andrew Schnier for petitioner-respondent.
Concur: Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, FUCHSBERG and MEYER. Taking no part: Judge GABRIELLI.
Order affirmed, without costs, for reasons stated in the memorandum opinion at the Appellate Division.
